Case 1:05-cr-10026-.]DT Document 3 Filed 07/29/05 Page 1 of 2 Page|D 4

 

|N THE UNlTED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
EASTERN D|V|SION

 

UNlTED STATES OF AMER|CA

)

Plaintiff, ) Cr. No. 0 5 -1 0 0 2 6 - T
v. )
)
MARK MCCURRY, )
Defendant. )

 

APPL|CAT|ON, ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM

 

The United States Attorney’s Office applies to the ‘Court for a Writ to have MARK
N|CCURRY, SSN XXX-XX-XXXX, now being detained in the N|adison County Jail, appear before the
Honorable s.rhomas Anderson on FK|OA"\,. O%~|J‘OS ,at 2-.00 /.m.
a.m./p.m. for initial appearance for such other appearances as this Court may direct.

Respectfui|y submitted this 62»,7% day of Ju|y 2005.

 
  
 

 

 

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AME§W.POMLELL ~°
" Assistant U. S. Attorney __ §
va l.'.\ 6
j ';_'_, '~;'°
ORDER 3"* §§ w

 

Upon consideration of the foregoing App|ication,

David Joi|ey, U.S. i\/larshalll Westem District of Tennessee, and Sheriff David Wooifork‘.

YOU ARE HEREBY COMMANDED to have MARK MCCURRY appear before the
Honorable S, Thornas Anderson at the date and time aforementioned

ENTEREothis 037"'{° day or 2005.

C/ l

armada

s. THoMAs ANDERSON
United States Magistrate Judge
Thls document entered on the docket sheet ln cor_npiiance

with Rule 55 and!or 32(b) FRCrP on

ISTRIC COURT - WESTERN D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:05-CR-10026 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

